       Case 1:21-cr-00605-RC          Document 179        Filed 10/21/24      Page 1 of 1



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 21-cr-605 (RC)
                                             :
ISAAC WESTBURY, et al.,                      :
                                             :
                      Defendants.            :


                          GOVERNMENT’S RESPONSE TO
                     DEFENDANTS’ MOTION TO CONTINUE TRIAL

       Now comes the United States, by and through its attorney, the United States Attorney for

the District of Columbia, to respectfully state that the government does not oppose the defendants’

motion to continue the jury trial, which is currently scheduled for November 18, 2024. ECF No.

178 (“Def. Mot.”).

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney

                                      By:    /s/ Cytheria D. Jernigan
                                             Cytheria D. Jernigan
                                             DC Bar No. 494742
                                             Assistant U.S. Attorney, WDLA
                                             Detailed to the U.S. Attorney’s Office
                                             for the District of Columbia
                                             601 D Street NW, Washington, DC 20530
                                             (318) 676-3611 (v)
                                             (318) 676-3663 (f)
                                             Cytheria.Jernigan@usdoj.gov

                                             /s/Andrew Haag
                                             Andrew S. Haag
                                             Assistant U.S. Attorney
                                             MA Bar No. 705425
                                             601 D Street NW, Washington, DC 20530
                                             (202) 252-7755
                                             Andrew.Haag@usdoj.gov
